Where one who has an agency agreement with an oil company for the sale of the company's products in a designated territory containing a provision that the agreement is personal to the agent, and can not be assigned without the consent of the company in writing first obtained, and that either party may terminate the agreement at any time, with or without cause, executes an option, whereby he contracts to transfer and assign said agency agreement to another upon the payment of the agreed price therefor within a stipulated time and thereafter is notified by the optionee that "he is anxious to get in and get started" and, acting on that statement as expressing an intention to exercise the option, without first obtaining the consent of the company to the proposed sale of the agency, he notifies the company that he has sold the business and asks to be checked out, and the company's auditor *Page 695 
thereafter checks him out, and the company thereupon contracts with the son of the optionee for the agency, and the optionor brings suit against the optionee for damages for fraud and deceit, alleging that the statement of the optionee that he was anxious to get in and get started was falsely and fraudulently made to deceive him and induce him to give up the agency, and that but for said alleged deception, he would not have given it up: Held, That consent of the company to an assignment of the agency agreement was a condition precedent to a sale of the agency, and assuming, but not deciding, that there might have been some slight evidence of fraud and deceit in the acts and conduct of the optionee, yet, since the optionor could not make a valid assignment of the agency agreement without the consent of the company, and the evidence showing not only that consent was not obtained, but that the company refused to give its consent, if the optionor resigned his agency with the company in reliance on any representation which the optionee may have made to him which would mean that the optionee would exercise the option to buy out the agency from the optionor, the optionor was the author of his own damage in not ascertaining whether or not the transfer of the agency would be approved by the company. Under the law and the evidence the court did not err in directing the verdict for the defendant, and in overruling the plaintiff's motion for new trial.
Judgment affirmed. Stephens, P. J., and Felton, J.,concur.
                         DECIDED JULY 16, 1943.
                    STATEMENT OF FACTS BY SUTTON, J.
A. J. Floyd brought suit against H. D. Morgan and H. D. Morgan Jr., for damages by alleged fraud in H. D. Morgan's representing to Floyd that Morgan would exercise an option to purchase from Floyd "all of his rights, contracts, leases and franchises" with Sinclair Refining Company, and also two motor trucks owned and used by Floyd in connection with the sale of the company's products in Floyd County, and in the refusal of H. D. Morgan to exercise the option. The judgment of the lower court sustaining demurrers to the petition was reversed by this court. Floyd v.Morgan, 62 Ga. App. 711 (9 S.E.2d 717). Thereafter, on the trial of the case, the trial judge, at the conclusion of the evidence, granted a nonsuit as to H. D. Morgan Jr., and directed the jury to return a verdict for H. D. Morgan. There was no exception to the judgment of nonsuit. The exception is to the judgment refusing a new trial on a motion assigning error on the direction of the verdict. The substantial averments of the petition will be found in Floyd v. Morgan, supra, and need not be set out here. The option appears in full in Floyd v.Morgan, 60 Ga. App. 496 (4 S.E.2d 91). *Page 696 
The agency contract under which Floyd operated, and which he contracted to transfer and assign to Morgan, subject to the conditions of the option, contained the following provisions: "19. This agreement is personal to the agent and can not be assigned without the consent of the company in writing first obtained. 21. Either party may terminate this agreement at any time with or without cause."
A. J. Floyd testified that he knew he could not transfer the agency except on the condition of the approval of the company; that Mr. Robertson, the assistant district manager of the company, had to approve every appointment that was made for agents in that territory, and "I never communicated with Mr. Robertson and never advised him that I had signed the option agreement. I never did talk to Mr. Robertson about it. It had to be approved by him. I don't know if he ever agreed to the option contract that I made to Mr. Morgan."
Mr. Jackson Robertson testified that he was the assistant district manager of Sinclair Refining Company, and that he was in Rome on the day the option was executed and spent part of the time there with A. J. Floyd; that Floyd did not say anything to him about having executed an option to H. D. Morgan. "He told me he was going to spend more time in seeing that the plant was properly operated;" that Mr. Ford, general salesman for the company, called him up on the following day and told him Mr. Floyd had given Mr. Morgan an option to buy out his contract with the company, and he told Mr. Ford to start looking for another agent for the company. He also testified that he told Mr. Morgan he would not consider checking anyone in under the terms of the option contract; that no one could sell an agency of the company; that the agency was not for sale. He also testified that "Mr. Floyd's agency had been terminated regardless of whether or not Mr. Morgan received or did not receive the appointment; his agency with us had been terminated before the appointment was made;" and that he had a number of applicants for the agency.